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                        IN THE UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF COLORADO
                                    DENVER DIVISION

In re:                                           )
                                                 )
PUGH, GLEN KAY                                   )        Case No. 18-19746 TBM
                                                 )        Chapter 7
                                                 )
                             Debtor(s)           )
                     TRUSTEE’S CERTIFICATE OF NON-CONTESTED MATTER
                            AND REQUEST FOR ENTRY OF ORDER

         On October 17, 2019, Kevin P. Kubie, filed a motion or application pursuant to L.B.R. 9013-1
entitled Trustee’s Application to Sell Property and to Pay Costs of Sale and Real Estate Commissions. The
Trustee hereby certifies that the following is true and correct:

        1.        Service of the motion/application, notice and proposed order were timely made on all parties
against whom relief is sought and those otherwise entitled to service pursuant to the FED. R. BANK. P. and
the L.B.P. as is shown on the certificate of service, L.B. Form 9013-1.2 previously filed with the
motion/application on October 17, 2019.

         2.      Mailing or other service of the notice was timely made on all other creditors and parties in
interest pursuant to L.B.R. 9013-1 and 2002-1 (or in the manner permitted by an order of the court, a copy of
which is attached), as is shown on the certificate of service, L.B. Form 9013-1.2, previously filed with the
notice on October 17, 2019

         3.    The docket numbers for each of the following relevant documents are:

                a.       the motion and all documents attached thereto and served therewith, (Docket No.
                         33);
                b.       the notice, (Docket No.34);
                c.       the certificate of service of the motion and the notice, (Docket No.33);
                d.       the proposed order, (Docket No.33); and

        4.      No objections to or requests for hearing on the motion/ application were received by the
undersigned, or filed with the court and docketed in the case file.

        WHEREFORE, the Trustee prays that the Court forthwith enter an Order, a form of which was
previously submitted, granting the requested relief.

DATED: November 11, 2019
                                                 /s/ Kevin P. Kubie
                                                 Kevin P. Kubie, Trustee
                                                 Chapter 7 Trustee
                                                 Attorney at Law, P.O. Box 8928
                                                 Pueblo, CO 81008-8928
                                                 Telephone: (719) 545-1153
